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                                                                                       If Yes, Due to
                                                   Prejudgment                         Concerns About
                Voir Dire                       Questions Answered Struck for          Fairness/
Trial           Transcript Pages Juror Number     Affirmatively*   Cause?              Impartiality?       Notes About Reason
Reffitt         299-309          Juror 0038              6         No                  N/A
                                                                                                           Struck for cause on defense motion after stating, “I will be unable to
Reffitt         174-178         Juror 0045               5            Yes              Yes                 follow your instructions.”
                                                                                                           Struck for cause on joint motion because the juror worked at the Library of
Reffitt         168-172         Juror 0313               5            Yes              No                  Congress on January 6.
                                                                                                           Struck for cause on defense motion after the juror stated, “I don't think I
Reffitt         49-54           Juror 0328             5, 6           Yes              Yes                 can be 100 percent impartial.”

                                                                                                           Juror put a question mark next to question five and explained: “And so the
                                                                                                           reason I put a question mark about that is if you asked me to say, Do I
                                                                                                           think January 6th was a bad thing? I would say, Absolutely. Yes. If you
                                                                                                           asked me if I have any opinions about this particular person or anything to
                                                                                                           that regard I would say, no.” The juror stated an ability to be fair and
Reffitt         422-434         Juror 0344               5            No                                   impartial; there was no motion to strike.
                                                                                                           After answering yes to question five, the juror clarified that the juror had
                                                                                                           not formed an opinion about the guilt or innocence of the people, but
                                                                                                           rather, as “a D.C. resident, I think it was a lot of failures,” including by the
Reffitt         286-299         Juror 0365               5            No                                   government."
                                                                                                           Juror stated that juror was biased and was struck for cause on defense
Reffitt         224-235         Juror 0432             5, 6           Yes              Yes                 motion.
                                                                                                           Juror stated juror was in favor of conviction and was struck for cause on
Reffitt         172-173         Juror 0443               5            Yes              Yes                 defense motion.
                                                                                                           Juror answered "yes" to question five because juror had strong feelings
                                                                                                           that people who entered the Capitol were “innocent.” Juror was not struck
Reffitt         92-106          Juror 0457               5            No                                   for cause.

                                                                                                           Juror worked at the Library of Congress and had friends who were injured
                                                                                                           on January 6 but said juror said he would presume the defendant innocent
Reffitt         453-465         Juror 0464               5            Yes              No                  and could set aside feelings. Juror was struck for cause on defense motion.
                                                                                                           Juror admitted to “inherent biases I don't think I could overcome, as much
Reffitt         263-274         Juror 0514             5, 6           Yes              Yes                 as I'd try to.”
                                                                                                           Juror stated that it would be difficult to put opinions aside, but said would
                                                                                                           do absolute best. Juror was struck for cause on the Court’s motion based
Reffitt         340-351         Juror 0548             5, 6           Yes              No                  on unavailability.
                                                                                                           Juror stated, “I do find it irreprehensible what they've done,” but stated an
                                                                                                           ability to put aside everything that juror had seen and decide the case
                                                                                                           solely on the facts presented in the courtroom. Juror was later struck for
Reffitt         209-224         Juror 0728               5            Yes              No                  cause based on a disqualifier of moving out of the District.




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                                                                                                           Juror stated could put feelings aside, but the Court observed that juror was
                                                                                                           struggling with that decision and that “is clearly impacted by those
Reffitt         112-129         Juror 1046               5            Yes              Yes                 events.” Juror struck for cause on the defendant’s motion.
                                                                                                           Juror reported having seen specific news coverage of the defendant and his
                                                                                                           alleged firearm possession. Juror stated could make a decision based on
                                                                                                           the evidence presented and could “wipe the slate clean” from what he
                                                                                                           heard in the news. Juror ultimately struck for cause on the defendant’s
                                                                                                           motion because of the Court's concern about juror's prior knowledge of the
Reffitt         465-481         Juror 1054               5            Yes              No                  facts at issue.
                                                                                                           Juror answered “not sure” to question five. Juror clarified that it was a
                                                                                                           “sad event” to watch but that juror would not have any difficulty being fair
Reffitt         434-453         Juror 1221               5            No                                   and impartial.
                                                                                                           Juror stated he had strong opinions, but had no hesitation about his ability
Reffitt         83-88           Juror 1332               5            No                                   to be fair and impartial.
                                                                                                           Juror thought juror had read or seen something about Mr. Reffitt in the
                                                                                                           news coverage of January 6 but could not remember the specifics. Juror
                                                                                                           also reported, "I have very strong political beliefs. I have very strong
                                                                                                           views in general about the events of that day. . . . However, I am an
                                                                                                           attorney. I believe in the system, and I believe very strongly that I can be
Reffitt         54-61           Juror 1419               6            No                                   impartial."
                                                                                                           Juror struck for cause on Court motion after making odd comments about
                                                                                                           “QAnon people” and having a “hard time following some of your
Reffitt         358-369         Juror 1484               5            Yes              Yes                 questions.”
                                                                                                           Juror expressed confidence that juror could put any feelings aside and
Reffitt         160-165         Juror 1486               5            No                                   decide the case impartially.
                                                                                                           Juror struck for cause on the defendant’s motion after stating that juror
                                                                                                           was “predisposed towards the government” based on feelings about what
Reffitt         61-68           Juror 1541             5, 6           Yes              Yes                 occurred on January 6.

                                                                                                           Juror clarified that juror answered yes to question five “because I suppose
                                                                                                           when you asked the question about like, oh, do you have a bias or any
                                                                                                           specific thoughts about the events that occurred on that date, I sort of --
                                                                                                           when I thought about that, I did sort of walk away from January -- and
                                                                                                           when I stopped reading the articles about it that week or the following
                                                                                                           week, I did kind of walk away from it being just like – having an opinion
                                                                                                           about the events, which were just that it was sort of unnecessary and
                                                                                                           strange.” Juror was “confident” juror could decide the case with an open
Reffitt         326-333         Juror 1655               5            No                                   mind and follow the judge’s instructions.




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                Voir Dire                       Questions Answered Struck for          Fairness/
Trial           Transcript Pages Juror Number     Affirmatively*   Cause?              Impartiality?       Notes About Reason

                                                                                                           When asked if the juror could "put your feelings about what happened that
                                                                                                           day aside and come to this courtroom with a clear mind and decide Mr.
                                                                                                           Reffitt's guilt or innocence based only on what you hear in the courtroom,"
                                                                                                           the juror responded, "I mean, I'm not going to lie, yeah, but at the same
                                                                                                           time I would be nervous a little bit too." Juror ultimately said he could be
                                                                                                           fair and impartial and would follow the Court's instructions and was not
Reffitt         187-202         Juror 1675               6            No                                   struck for cause (nor was there any motion).

                                                                                                           Juror was struck for cause on the defendant’s motion after stating her view
                                                                                                           that anyone who entered the Capitol was guilty and juror would not be
Reffitt         202-209         Juror 1747               5            Yes              Yes                 able to follow the judge’s instructions to set aside her views.


                                                                                                           Juror said he hought he remembered reading about Robertson’s case – the
                                                                                                           stick stood out. Juror also reported living on Capitol Hill. In explaining
                                                                                                           "yes" answer to Question 15, the juror said, “I knew several people who
                                                                                                           were in the Capitol that day, both staff and members of Congress, and
                                                                                                           have had conversations about the predicament that they were in and just
                                                                                                           the nature of what all happened that day. You know, I guess knowing from
                                                                                                           more of an inside perspective and what they went through, you know,
                                                                                                           makes it somewhat difficult in that regard.” The juror nonetheless said he
Robertson       64-73           Juror 0254              15            No                                   could still be fair/impartial. Juror qualified without objection.
                                                                                                           Juror stated, "Both my wife and I consider ourselves pretty liberal. And
                                                                                                           she's the kind of person who won't talk to me for half a day if I do
                                                                                                           something wrong in one of her dreams, let alone something I actually do.
                                                                                                           So I fear that being on a January 6 related trial and finding the defendant
                                                                                                           innocent could have ramifications for me whether I believe that should
Robertson       189-193         Juror 0429                            Yes              Yes                 happen or not.”
                                                                                                           Juror was struck for cause due to hardship because of an upcoming work
Robertson       245-250         Juror 0474                            Yes              No                  trip.
Robertson       193-196         Juror 0505                            Yes              No                  Juror was struck for cause because of work hardship.
                                                                                                           Juror reported working on a case involving one of the USCP officers who
                                                                                                           committed suicide. Juror said it would be difficult to be impartial because
Robertson       265-268         Juror 0585                            Yes              Yes                 of that. Juror struck for cause.




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                                                                                                           Juror was near the Capitol grounds on January 6, possibly aroudn the same
                                                                                                           time as the offenses alleged in the case. Juror observed, “I think we all
                                                                                                           have somewhat of an opinion of that day. I think it's basically like -- it was
                                                                                                           chaos. And it was unruly violence.” But juror said juror could set opinion
Robertson       160-171         Juror 0696                            Yes              Yes                 aside. Juror was struck for cause at the request of both parties.
                                                                                                           Juror stated, "They had no business doing what they were doing. They
                                                                                                           were 100 percent wrong. I don't care. I don't have no leniency towards
                                                                                                           them because they didn't care about us, us as a whole. So my personal
Robertson       136-142         Juror 0799                            Yes              Yes                 opinion? They don't deserve no slack.”
                                                                                                           Juror struck for cause due to hardship because of trip to visit family the
Robertson       279-282         Juror 0846                            Yes              No                  following week.
                                                                                                           In striking the juror, the Court concluded, “Somewhat of a close call, but
                                                                                                           given what seems to be the closeness of the relationships, socializing
                                                                                                           regularly on a biweekly basis with a member of the Capitol Police who's
                                                                                                           living with a close family member, that and the somewhat equivocal
                                                                                                           answers that he gave about his confidence in being fair, the Court will
Robertson       121-130         Juror 0936                            Yes              Yes                 strike for cause 936.”
                                                                                                           Juror stated, “Automatically thought guilty when I heard January 6th.”
Robertson       256-265         Juror 1010              19            Yes              Yes                 Juror struck for cause.
Robertson       83-84           Juror 1027                            Yes              No                  Struck for cause because Recently moved to Arlington.
Robertson       156-160         Juror 1122                            Yes              No                  Juror was struck for cause because of language concerns.
                                                                                                           Juror stated, “I'm a Washingtonian, born and raised, so, you know, this is
                                                                                                           my city. I feel violated.” and “I don't think it would be fair to him to have
Robertson       287-292         Juror 1160                            Yes              Yes                 me on the jury.” Juror struck for cause.

                                                                                                           Juror reported that, because of job position, juror "was fed information
                                                                                                           leading up to the events and advised my judges and executives on actions
                                                                                                           that we should do to protect ourselves." Juror nonetheless said juror could
Robertson       130-136         Juror 1219              15            No                                   be fair. Juror qualified without objection.
                                                                                                           Court found juror “would have a hard time setting his political views as
                                                                                                           well as his general views about the criminal justice system aside and
Robertson       26-34           Juror 1431                            Yes              Yes                 follow the Court's instructions.”
                                                                                                           Juror drove home on January 6 past Capitol, lives on Capitol Hill, has been
                                                                                                           affected personally, was "outraged that people who come in our city and
                                                                                                           act so . . . ." Was ultimately struck for cause but because of two elderly
Robertson       23-26           Juror 1566              15            Yes              No                  sisters for whom juror was caretaker.




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                                                                                                                     "Well, I really felt bad about what happened at the Capitol, and somewhat
                                                                                                                     I felt that everyone that entered the building that day were definitely
                                                                                                                     wrong, in my -- you know, in my opinion.” Juror was struck for cause for
Robertson       97-100              Juror 1567                                Yes               Yes                  concerns that juror could not be fair/impartial."


*KEY:
The "prejudgment" questions refer to those questions that are aimed at identifying issues who may have pre-judged the case to an extent that they cannot be fair and impartial. In Reffit,
those were Questions 5-6 ("Does anyone have such strong feelings or opinions about the events that took place at the U.S. Capitol on January 6, 2021, that it would make it difficult for you
to serve as a fair and impartial juror in this case?" and "As you sit here, do you have an opinion about Mr. Reffitt's guilt or innocence in this case?"). In Robertson, those were Questions 15
and 19 (As I said, Mr. Robertson has been charged with six crimes related to Congress's meeting at the United States Capitol on January 6, 2021, to certify the Electoral College vote for
President of the United States. Is there anything about the nature of these allegations that would prevent you from being neutral and fair in evaluating the evidence in this case?" and "I
suspect that the vast majority of you will have some feelings about the events that took place on January 6th. But my question is, do you have such strong feelings about the events of
January 6, 2021, that it would be difficult for you to follow my instructions and render a fair and impartial verdict if you were chosen as a juror?") In the analysis of the Robertson voir dire,
we highlight a number of jurors who did not answer yes to either of these questions but answered other questions or made statements during voir dire that exhibited prejudgment or possible
difficulties in being fair and impartial.




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